                Case 23-11069-CTG        Doc 670        Filed 09/27/23    Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE

 In re:                                             )    CASE NO. 23-11069-CTG
                                                    )
                                                    )    (Jointly Administered)
 YELLOW CORPORATION, et al.,                        )
                                                    )    CHAPTER 11
                  Debtors.                          )
                                                    )
                                                    )

   NOTICE OF WITHDRAW OF PETITONER’S MOTION FOR RELIEF FROM STAY

          Now comes the Petitioner, Derrick Drew, by and through counsel, and hereby respectfully

moves this Court to withdraw its Motion for Relief From Stay filed on September 1, 2023 (D.I. 396)

The Motion for Relief from Stay was based on representations from YRC, Inc. that it had sufficient

insurance limits to cover the damages asserted in Mr. Drew’s pending lawsuit. Since that time, Mr.

Drew has information that there may not be insurance limits that apply to his claims. The reasons for

withdrawing the previous Motion for Relief from Stay is more fully set forth in the accompanying

memorandum attached hereto.

                                                        Respectfully submitted:


                                                   JACOBS & CRUMPLAR, P.A.

                                                     /s/ Raeann Warner
                                                   Raeann Warner, Esq. (DE 4931)
                                                   750 Shipyard Drive, Suite 200
                                                   Wilmington, DE 19801
                                                   (t) (302) 656-5445
                                                   Attorney for Plaintiff
               Case 23-11069-CTG            Doc 670       Filed 09/27/23      Page 2 of 4




                                           MEMORANDUM

FACTS RELEVANT TO THE WITHIN MOTION

        On May 3, 2021, Petitioner Derrick Drew drove a 1985 Chevrolet Caprice westbound on 75th

Street in Kansas City, Missouri. Simultaneously, Andrewson Belcher drove a 2000 Volvo DL Tractor-

Trailer also traveling westbound on 75th Street near Petitioner. As Belcher, who was in the left lane,

entered a green light intersection he attempted to turn right across traffic but struck Petitioner’s vehicle

which was properly traveling in the right lane of 75th Street.

        Mr. Belcher was in the course and scope of his employment and/or agency with YRC Inc. d/b/a

YRC Freight at the time of the subject collision. Mr. Belcher failed to exercise the highest degree of

care in operating the YRC Tractor-Trailer and was negligent in a number of respects. Most notably,

by making a right turn from an improper lane and striking Petitioner’s vehicle. Not only is YRC

vicariously liable for the negligence of Mr. Belcher, but it also failed to use ordinary care in its training

of Mr. Belcher and/or its allowing of Mr. Belcher to operate a Tractor-Trailer on its behalf.

        On March 29, 2023, Petitioner commenced an action in the District Court of Wyandotte

County, Kansas therein captioned Derrick Drew v. YRC Inc. d/b/a YRC Freight and Andrewson

Belcher, Case No.2023-CV-000215.          Petitioner prayed for compensatory damages in excess of

$75,000.

        On or around August 7, 2023, counsel for Plaintiff in the Kansas case found out that Yellow

Corporation had filed for bankruptcy along with many of its subsidiaries, including YRC Inc. Debtors

moved for joint administration of Yellow Corporation’s bankruptcy with many of its subsidiaries,

including YRC Inc. This was confirmed when on August 17, 2023, counsel for YRC Inc. filed a

suggestion of bankruptcy in Case No.2023-CV-000215.

        Petitioner moved this Court requesting relief from the automatic stay protections of 11 U.S.C.

§362 such that his claims against the Debtors in Case No. 2023-CV-000215 might proceed forward
              Case 23-11069-CTG           Doc 670     Filed 09/27/23      Page 3 of 4




based on prior representations from YRC Inc. under oath that “the underlying policy…has sufficient

limits to cover the damages in the underlying lawsuit” and likewise produced a declarations page

showing liability insurance of $6,000,000.00 through Old Republic Insurance Company. Since that

time, Mr. Drew has learned that YRC Inc. may have a large deductible prior to this layer of insurance

applying, this has not been able to be confirmed by YRC Inc. Because of YRC Inc. potential conflicting

representations regarding insurance, Mr. Drew moves to withdraw his Motion for Relief from Stay at

this time due to the potential uncertainty regarding applicable insurance coverage.




Date: September 27, 2023                            Respectfully submitted:



                                                    JACOBS & CRUMPLAR, P.A.

                                                      /s/ Raeann Warner
                                                    Raeann Warner, Esq. (DE 4931)
                                                    750 Shipyard Drive, Suite 200
                                                    Wilmington, DE 19801
                                                    (t) (302) 656-5445
                                                    Attorney for Plaintiff
              Case 23-11069-CTG           Doc 670      Filed 09/27/23     Page 4 of 4




                                  CERTIFICATE OF SERVICE

I hereby certify that on September 27, 2023 a copy of the foregoing Notice of Withdraw for Motion

for Relief from Stay was filed electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt. Parties can

access this document through the Court’s system.

                                                    JACOBS & CRUMPLAR, P.A.

                                                      /s/ Raeann Warner
                                                    Raeann Warner, Esq. (DE 4931)
                                                    750 Shipyard Drive, Suite 200
                                                    Wilmington, DE 19801
                                                    (t) (302) 656-5445
                                                    Attorney for Plaintiff
